 

 

IN THE UNITED STATES DISTRICT COURT EF] L E D
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION J N
OCT 22 2007
[0 -2Z2-07
JOSEPH WILLIAMS, MIGHAEL W. DOBBINS
CLERK, U.S, DISTRICT COURT
Plaintiff, No.
Vv.
O7ev5951

CITY OF CHICAGO, CHICAGO

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POLICE OFFICERS; J. GUZIEC. ) VUDGE DARRAH
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Star # 19736, G. POLANEK, Star # 11844, MAG. JUDGE BROWN

LOYOLA UNIVERSITY, LOYOLA
UNIVERSITY POLICE OFFICERS; RB.
AMEMITSCH, J. HOEHN and

UNKNOWN CHICAGO POLICE
OFFICERS,
Defendants. JURY DEMANDED
COMPLAINT

NOW COMES the plaintiff, Joseph Williams, through his attorneys, A Law Office
of Christopher R. Smith, and complaining of the defendants CITY OF CHICAGO, .
CHICAGO POLICE OFFICERS J. GUZIEC, Star #19736, G, POLANEK, Star #1 1844,
_ LOYOLA UNIV ERSITY, LOYOLA UNIVERSITY POLICE OFFICERS; B.
AMEMITSCH, J. HOEHN, and UNKNOWN CHICAGO POLICE OFFICERS,
INTRODUCTION
1. This is a civil action secking damages against defendants for committing acts
under color of law, and depriving plaintiffs of rights secured by the Constitution and laws
of the United States, |
JURISDICTION.

2, The jurisdiction of this Court is invoked pursuant to the Civil Rights Act,
 

 

 

42 U.S.C., Section 1983, and Section 1985: the judicial code 28 U.S.C., Section 1331 and

1343 (a); the Constitution of the United States; and pendent jurisdiction as provided
under U.S.C., Section 1367(a).
PARTIES

3. Plaintiff is a permanent resident of the United States of America, who
currently resides in Chicago, Cook County, Illinois.

4, Defendants, Chicago Police Officers J. Guziec, Star # 19736, G. Polanek,
Star #11844, and Unknown Chicago Police Officers Were, at the time of this occurrence,
duly licensed Chicago Police Officers. They engaged in the conduct complained of while
on duty in the course and scope of their employment and under color of law. They are
sued in their individual capacities,

5, Defendant City of Chicago (“City”), a municipal corporation duly
incorporated under the laws of the State of Illinois, is the employer and principal of
Chicago police officer defendants.

6. Defendants, Loyola University police officers, B Amemitsch and J, Hoehn
were at the time of this occurrence, duly licensed police officer. The engaged in the

conduct complained of while on duty in the course and scope of their employment and
under color of law. They are sued in their individual capacities,

7. Defendant Loyola University (“University”), a private corporation duly
incorporated under the laws of the State of linois, is the employer and principal of
University of Loyola Police Officers, |

FACTS

8. Mr. Williams, an African-American man, lawfully entered his friend’s car,
 

which he had exited several minutes earlier, to retrieve his cell phone.
9, Loyola University Police Officers accused Mr, Williams of legally
entering the vehicle.
10. Loyola University Police Officers illegally detained Mr. Williams.

11. Shortly thereafter, Defendant Chicago Police Officers arrived on the scene.

12. Defendant officers filled out false reports, and arrested Mr. Williams for

burglary to auto,
13. Defendants never confirmed whether or not Mr. Williams had permission

to enter the vehicle,

 

14, Defendants then transported Mr. Williams by squadrol to the police
station, where he was placed inside a holding cell,

15. During the morning Mr. Williams began to feel increasingly ill, suffering
from repeated vomiting and diarrhea. Mr. Williams eventually told the attending police
officers that he needed to see a doctor. A Defendant police officer began to ridicule Mr.
Williams, telling him that he wouldn’t be allowed to see a doctor.

16. Mr. Williams asked to make his one phone-call.

17. — Mr. Williams called the Office of Professional Standards, OPS, to explain
that he was violently ill, and that unknown Chicago police offices were denying him
medical treatment,

18. When an unknown Chicago police sergeant, a defendant, became aware
that Mr. Williams was on the phone with OPS, he snatched the phone out of Mr,
Williams’ hand.

19. The Unknown Sergeant smashed Mr. Williams’ head against the wall.
 

 

20. “Now you're going to need some medical attention,” the unknown
Chicago Police Sergeant said.

21. When Mr, Williams saw the unknown defendant police officer who had
belittled him earlier, he tumed around.

22. The unknown defendant sergeant then kicked Mr. Williams in the back.

23. When Mr. Williams fell to the ground, the unknown defendant sergeant
and the unknown defendant officer, continued to kick Mr. Williams in the back,

24. Defendants put Mr. Williams back in lock-up.

25. Eventually Mr, Williams was taken to the hospital where he was treated
for his illness,

26, After returning to the lock-up, Mr. Williams, drowsy from medication, fell
asleep. When Mr, Williams woke up, he could not move, because of excruciating back
pain.

27. Unknown Chicago Police Officers transported Mr. Williams to 26th and
California for his probable cause hearing,

28. At the receiving entrance, the supervising officers would not accept Mr,
Williams without medical authorization, because of his deteriorating physical condition,

29. Instead of taking Mr. Williams to the hospital, Unknown Chicago Police
Officers decided to take Mr. Williams back to the lock-up, wait until the next shift at 26"
and California, and then try again.

30. Later in the afternoon, Unknown Chicago Police Officers took Mr.
Williams back to receiving at 26” and California, where receiving officers again was

refused to admit him.

 
 

 

 

31. Unknown Chicago Police Officers once again transported Mr. Williams
back to the lock-up facility,

32, During the nightshift, Mr. Williams was taken to the hospital.

33. A cat-scan revealed that Mr. Williams had multiple fractures in several of
his vertebrae,

34. The next moming Mr, Williams was successfully admitted into 26" and
California,

35. Mr, Williams spent the next 265 days incarcerated.

36. Defendants, Chicago Police Officers J. Guziec, Star # 19736, G. Polanek,
Star #11844, and Unknown Chicago Police Officer conspired to arrest and falsely charge
Mr, Williams with crimes they knew he did not commit. In furtherance of this
conspiracy, defendant officers filled out and filed false and incomplete police reports
relative to plaintiff's arrest.

37, Unknown Chicago Police Officers conspired and agreed amongst
themselves to brutally beat Mr. Williams and to hide evidence of the beating of plaintiff.

38. On May 29, 2007, in the Circuit Court of Cook County, First District, the
charge against plaintiff was nolle prossed, indicative of the innocence of J oseph
Williams,

39. Asa direct and proximate result of the malicious actions of the defendants
and Unknown Chicago Police Officers, Mr. Williams was injured, including the loss of
his freedom, damage to his reputation, humiliation, pain, suffering, the deprivation of his
constitutional rights and his dignity, lost time, and extreme emotional distress.

40. As a proximate result of the beatings and physical and psychological
 

 

torture inflicted by defendant officers, plaintiff suffered severe physical injuries, acute
pain and suffering, and emotional distress.
Count I
Against Chicago Police Officers, 42 U.S.C. Section 1983 — Excessive Force

1-39. Plaintiff realleges paragraphs 1 through 39 above, as if fully set forth here.

40. The actions of Defendants and Unknown Chicago Police Officers, as
detailed above, constitute unreasonable, unjustifiable, and excessive force against
plaintiff, thus violating plaintiff's rights under the Fourth Amendment to the United
States Constitution, and 42 U.S.C., Section 1983.

41. As a proximate result of the above-detailed actions of Defendants, plaintiff
was injured, including his severe physical injuries, pain, mental suffering, anguish and
humiliation, and medical expenses.

WHEREFORE, pursuant to 42 U.S.C, Section 1983, Plaintiff demands judgment
against the individual defendants, jointly and severally, for compensatory damages
against defendants officers in an amount in excess of $1,000,000.00, and because these
defendants acted maliciously, wantonly, or oppressively, punitive damages in an amount
in excess of $1,000,000.00, plus the costs of this action and attomey’s fees, and such

other and additional relief as this court deems equitable and just.

Count IT

Against Officers for Section 1983 Fourth Amendment Violations —
Illegal Search and Seizures

1-39. Plaintiff realleges paragraphs J through 39 above, as if fully set forth here.
40. The searches and seizures of the plaintiff's person and property as detailed

above, performed willfully and wantonly by the defendants, individually and in

 
conspiracy with each other, were in violation of plaintiff's right to be free of unreasonable
searches and seizures under the Fourth Amendment to the Constitution of the United
States and U.S.C. Sec. 1983.

41. As a proximate result of the above-detailed actions of defendants, plaintiff
Was injured, including the deprivation of his liberty and the taking of his property, In
addition, the violations proximately caused the plaintiff great mental anguish and
humiliation, exposed him to public scandal and disgrace, and caused him to incur various
expenses, all to his damage.

WHEREFORE, pursuant to 42 U.S.C. Section 1983, Plaintiff demands judgment
against the individual defendants, jointly and severally, for compensatory damages
against defendants officers in an amount in excess of $1,000,000.00, and because these
defendants acted maliciously, wantonly, or Oppressively, punitive damages in an amount
in excess of $1,000,000.00, plus the costs of this action and attorney's fees, and such

other and additional relief as this court deems equitable and just.

Count V

42 U.S.C, Section 1983—Failure to Intervene

1-39. Plaintiff reaileges paragraphs 1 through 39 above, as if fully set forth here,

40. As a result of their failure to intervene, defendants and unknown Chicago
Police Officers, sanctioned, encouraged, and participated in the violations of plaintiffs
tights. Defendants had ample opportunity to intervene, and could have prevented the
harm to plaintiff and many others. Instead, defendants chose tO pursue a course of
deliberate indifference towards and directly supported the violations perpetrated by the

Chicago Police Department. In this way, defendants helped to enforce the status quo of
 

 

law enforcement apartheid that exists in many Chicago neighborhoods.

41. As described in the preceding paragraphs, the conduct of the non-
intervening defendants, acting under color of law and within the scope of their
employment, violated federal statutes and the United States Constitution.

42. The misconduct described in this Count was objectively unreasonable and
was undertaken intentionally with willful inference to Plaintiffs’ constitutional rights.

43, The misconduct described in this Count was undertaken under the policy
and practice of the Chicago Police Department in the manner described above,

WHEREFORE, pursuant to 42 U.S.C, Section 1983, Plaintiff demands judgment
against the individual defendants, jointly and severally, for compensatory damages
against defendants officers in an amount in excess of $1,000,000.00, and because these
defendants acted maliciously, wantoaly, or oppressively, punitive damages in an amount
in excess of $1,000,000.00, plus the costs of this action and attorney's fees, and such

other and additional relief as this court deems equitable and just.

COUNT ITI
Against Loyola University Police Officer Defendants and Loyola University, for
Section 1985 Conspiracy to Deny Equal Protection

1-39. Plaintiff realleges paragraphs 1 through 39 above, as if fully set forth here.
40. As detailed above, Loyola University Police officers, B. Amemitsch conspired and
agreed among themselves to deprive, and did in fact deprive Mr, Williams of equal
protection of the laws because of his race, as guaranteed by the Constitution of the United
States,

41, In so doing, the officers were motivated by discriminatory-based racial animus.
 

42, As detailed above, the officers committed overt acts in furtherance of the
conspiracy, including filing false reports and by violating plaintiff's constitutional rights
on the basis of race.

43. As a proximate result thereof, plaintiff was damaged, including the deprivation of
his liberty, pain and suffering, mental and emotional anguish and humiliation, and
damage to his reputation and occupation.

WHEREFORE, plaintiff Joseph Williams demands judgment against the
University of Loyola police officer defendants, jointly and severally, for compensatory
damages in an amount in excess of $ 1,000,000.00 and further demands judgment against
the University of Loyola police officer defendants , jointly and severally, for punitive
damages in an amount in excess of $1,000,000.00, plus attomey’s fees pursuant to statute
and the costs of this action and such other and further relief as this Court deems just,

proper, and equitable.

Count IV
745 ILCS 10/9-102

1-39. Plaintiff realleges paragraphs 1 through 39 above, as if fully set forth here.

40. Defendant City of Chicago is the employer of Defendants, Chicago Police
Officers J. Guziec, Star # 19736, G. Polanek, Star #11844, and Unknown Chicago Police
Officers.

41. Defendants committed the acts alleged above under color of law and in the
scope of their employment as employees of the City of Chicago.

WHEREFORE, should Defendants, Chicago Police Officers J. Guziec, Star #

19736, G. Polanek, Star # 11844, or Unknown Chicago Police Officers be found liable on
one or more of the claims set forth above, Plaintiff demands that, pursuant to 745 ILCS
10/9-102, the Defendant City of Chicago be found liable for any judgment plaintiff

obtains against said defendants, as well as attomeys fees and costs awarded.

Count V
Respondeat Superior

1-39. Plaintiff realleges paragraphs i through 39 above, as if fully set forth here,

40. Defendant University of Loyola is the employer of Defendants, University
of Loyola police officers, B Amemitsch and J. Hoehn.

41. Defendants committed the acts alleged above under color of law and in the
scope of their employment as employees of the University of Loyola.

WHEREFORE, should Defendants, University of Loyola police officers, B
Amemitsch and J. Hoehn be found liable on one or more of the claims set forth above,
Plaintiff demands that, pursuant to Respondeat Superior, the University of Loyola be
found liable for any Judgment plaintiff obtains against said defendants, as well as

attomeys fees and costs awarded.

Count IV
Battery — State Claim Against City and Chicago Police Officers
1-39. Plaintiff realleges paragraphs 1 through 39 above, as if fully set forth here,
40. By the actions detailed above, and by participating in the above-described
conspiracy, Unknown Chicago Police Officers intentionally made offensive bodily
contact against Joseph Williams and inflicted bodily harm to Joseph Williams.

41. By the actions detailed above, and by Participating in the above-described |
 

 

conspiracy, Unknown Chicago Police Officers preformed the acts detailed above with the
intent of inflicting physical harm to Joseph Williams, J oseph Williams was physically
harmed,

42. Asa direct and proximate result of the battery, Joseph Williams was
injured, inchiding blunt trauma to his body, including fractured vertebrae.

43. The City is sued in this Count pursuant to the doctrine of respondeat
Superior, in that defendant officers performed the actions complained of while on duty
and in the employ of defendant City, and while acting within the scape of this
employment.

WHEREFORE, plaintiff demands judgment against the defendants and
Unknown Chicago Police Officers, jointly and severally, for compensatory damages in an
amount in excess of $1,000,000.00, and further demands judgment against the individual
defendants, jointly and severally, for punitive damages in an amount in excess of
$1,000,000.00, and further demand attorney’s fees and the costs of this action, and for

such other relief as this Court deems just, proper, and equitable,

Count V
False Arrest — State Claim Against City and Officers
1-39. Plaintiff Tealleges paragraphs 1 through 39 above, as if fully set forth here,
40. By the actions detailed above, and by participating in the above-described
conspiracy, the individual defendants knowingly sought to and did in fact arrest Joseph
Williams on false charges for which they knew there was no ptobable cause.
41. The City is sued in this Count pursuant to the doctrine of respondeat

superior, in that defendant officers performed the actions complained of while on duty

 
 

 

and in the employ of defendant City, and while acting within the scope of their
employment.

42. Asa direct and proximate result of the false arrest, Joseph Williams was
damaged, including the value of lost liberty, attorneys fees, exposure to public scandal
and disgrace, damage to their reputation, mental and emotional suffering, humiliation and
anguish.

WHEREFORE, plaintiff Joseph Williams demands judgment against the
defendants, jointly and severally, for compensatory damages in an amount in excess of
$1,000,000.00, and further demands judgment against the individual defendants, jointly
and severally, for punitive damages in an amount in excess of $1,000,000.06, and further
demand attomey’s fees and the costs of this action, and for such other relief as this Court

deems just, proper, and equitable,

Count VI
Malicious Prosecution — State Claim Against City and Officers

1-39. Plaintiff realleges paragraphs 1 through 39 above, as if fully set forth here,

40. _ By the actions detailed above, and by participating in the above-described
conspiracy, the individual defendants and Unknown Chicago Police Officers knowingly
sought to and did in fact maliciously prosecute Joseph Williams on false charges for
which they knew there was no probable cause.

41. The City is sued in this Count pursuant to the doctrine of respondeat
superior, in that defendant officers performed the actions complained of while on duty
and in the employ of defendant City, and while acting within the scope of this

employment.

 
 

 

42. Asa direct and proximate result of the malicious prosecution, Joseph
Williams was damaged, including the value of his lost liberty, attorneys fees, exposure to
public scandal and disgrace, damage to hig reputation, mental and emotional suffering,
humiliation, and anguish,

WHEREFORE, plaintiff Joseph Williams demands judgment against the City and
the individual defendants, jointly and severally, for compensatory damages in an amount
in excess of $1,000,000.00, and further demands judgment against the individual
defendants, jointly and severally, for punitive damages in an amount in excess of
$1,000,000.00, and further demand attorney’s fees and the costs of this action, and for

such other relief as this Court deems just, proper, and equitable.

Count VII
Intentional Infliction of Emotional Distress Against City and Officers

1-39, Plaintiff realleges paragraphs 1 through 39 above, as if fully set forth here,

40, The above-detailed conduct by the defendants was extreme and outrageous,
exceeding all bounds of human decency.

41, Defendants and Unknown Chicago Police Officers performed the acts
detailed above with the intent of inflicting severe emotional distress on the plaintiff or
with knowledge of the high probability that the conduct would cause such distress,

42. Asa direct and proximate result of this conduct, plaintiff did in fact suffer
severe emotional distress, resulting in injury to his mind, body, and nervous system,
including loss of sleep, mental anguish, nightmares, anxiety attacks, and flashbacks.

43. The City is sued in this Count pursuant to the doctrine of respondeat

superior, in that defendant officers and Unknown Chicago Police Officers performed the

 

 

 
 

actions complained of while on duty and in the employ of defendant City, and while
acting within the scope of this employment.

WHEREFORE, plaintiff Jam Williams demands judgment against the City and
the individual defendants, jointly and everally, for compensatory damages in an amount
in excess of $1,000,000.00, and further demand judgment against the individual
defendants, jointly and severally, for punitive damages in an amount in excess of
$1,000,000.00, and further demand at mey’s fees and the costs of this action, and for

such other relief as this Court deems just, proper, and equitable.

Respectfully submitted,

   

 

 

By: “One of hi attomeys

PLAINTIFF DEMANDS TRIAL BY JURY.

 

Christopher R. Smith

Jared 8. Kosoglad

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